  Case: 4:16-cv-00052-DMB-JMV Doc #: 941 Filed: 10/16/20 1 of 3 PageID #: 34622




                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


COOPER, et al.                                                                    PLAINTIFFS
versus                                                  Civil Action No. 4:16-cv-52-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS

SLEDGE, et al.                                                                    PLAINTIFFS
versus                                                  Civil Action No. 4:16-cv-53-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS

COOKE, et al.                                                                     PLAINTIFFS
versus                                                  Civil Action No. 4:16-cv-54-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS

SRA INVESTMENTS, LLC, et al.                                                      PLAINTIFFS
versus                                                  Civil Action No. 4:16-cv-55-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS


                                            ORDER

       On October 14, 2020, the Court held a telephonic status conference with counsel for

Plaintiffs and counsel for defendants Meritor, Inc.; Rockwell Automation, Inc.; and The Boeing

Company (collectively, the “Meritor Defendants”).

       Having heard from counsel for the Plaintiffs and counsel for the Meritor Defendants,

having reviewed the pleadings and procedural history of the litigation, being advised that no

counsel for the parties objects to proceeding with mediation, and to conserve the Court’s and

parties’ resources and time, the Court is of the opinion that an Order directing mediation may

provide the opportunity for a mutually beneficial compromise. Therefore, the Court orders as

follows:

       1.     ORDERED THAT each plaintiff and the Meritor Defendants shall attend a

mediation at an agreed upon date, time, and location in Grenada, Mississippi;
  Case: 4:16-cv-00052-DMB-JMV Doc #: 941 Filed: 10/16/20 2 of 3 PageID #: 34623




       2.      ORDERED THAT counsel for the Meritor Defendants shall submit a written report

within three business days after the final mediation session (currently scheduled for December 1,

2020) about the results of mediation;

       3.      ORDERED THAT counsel for the parties, only after consulting with the CDC, the

Mississippi Department of Health (“MDH”) and local health authorities for up-to-date guidance

and requirements, are directed to implement and reasonably enforce measures to ensure to the

extent possible all participants are safe from potential unnecessary exposure to the COVID-19

virus during all proceedings. The parties should also implement videoconferencing and/or

teleconferencing for participation where in-person participation poses an unnecessary COVID risk

for any party due to health issues as may be indicated by MDH; and

       4.      ORDERED THAT all deadlines pending pursuant to the current Case Management

Order are suspended and held in abeyance until the Court convenes a status conference following

receipt of the mediation report referenced in paragraph 2. If any claims remain, the Court shall

enter a new Case Management Order resetting applicable deadlines.

       ORDERED AND ADJUDGED, this 16th day of October, 2020.



                                            /s/ Jane M. Virden
                                            UNITED STATES MAGISTRATE JUDGE




                                              -2-
  Case: 4:16-cv-00052-DMB-JMV Doc #: 941 Filed: 10/16/20 3 of 3 PageID #: 34624




PREPARED BY AND AGREED TO:

/s/ Phillip S. Sykes
Counsel for the Meritor Defendants

/s/ Marquette W. Wolf
Counsel for the Plaintiffs




                                      -3-
